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                      UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                            )
                                                     )
                       Plaintiff,                    )
                                                     )
v.                                                   )       Case No. 11-CR-149-002-CVE
                                                     )
CHANTZ GERMAINE PATTERSON,                           )
a/k/a Chantz Terrance Patterson,                     )
a/k/a Chank,                                         )
                                                     )
                       Defendant.                    )


                                    OPINION AND ORDER

       Now before the Court is defendant Chantz Germaine Patterson’s Motion to Sever and/or

Alternative Motion to Suppress Extrajudicial Statements by Codefendants (Dkt. # 51). Patterson,

Joseph Paul Beeson, III, and Calvin Shobe are charged with conspiracy to commit an offense against

the United States (count one), bank robbery (count two), and using or carrying a firearm during and

in relation to a crime of violence (count three), and Patterson and Shobe only are charged with

possessing a firearm after former felony conviction (count four). Dkt. # 31. Patterson asks the

Court to sever his trial from that of his co-defendants because Beeson and Shobe each gave a

confession and/or made other out-of-court statements that directly incriminate Patterson, and it is

not likely that Patterson will be able to cross-examine Beeson or Shobe at trial.

       The following factual allegations are in the indictment: On August 2, 2011, the defendants

drove by an Arvest Bank located at 4825 East 36th Street in Tulsa, Oklahoma and selected that bank

for the planned robbery. Patterson and Shobe gave Beeson a firearm, a black bag, and a mask, and

Beeson and an unidentified co-conspirator conducted surveillance of the bank. The unidentified co-

conspirator chose not to participate in the robbery, and Beeson conveyed this information to
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Patterson and Shobe at a pre-arranged “meet spot.” Beeson returned to the bank and entered the

bank alone. Beeson brandished the gun during the robbery and stole $4,068 from the bank. Beeson

delivered the firearm and the money to Patterson and Shobe at the meet spot, and Patterson and

Shobe left with the money.

       Patterson states that Beeson and Shobe waived their Miranda rights and participated in

lengthy interviews with law enforcement officials after their arrests. Dkt. # 51, at 2. Beeson also

gave a written confession and this confession implicates Patterson as a key participant in the bank

robbery. Id. at 11-15 (Beeson’s written confession). Beeson, Patterson, and Shobe were charged

with bank robbery and other crimes in a single indictment. Shobe has requested a competency

evaluation, and his request has been granted.1 Dkt. # 60. Beeson has advised the Court that he

intends to change his plea to guilty as to certain counts, and the government states that Beeson has

agreed to testify on behalf of the government if this matter proceeds to trial. Dkt. # 59, at 2.

       Under Fed. R. Crim. P. 14(a), a district court may sever the trials of co-defendants joined in

a single indictment if a joint trial would prejudice one or more of the defendants named in the

indictment. However, “[j]oint trials of defendants who are indicted together are preferred because

‘[t]hey promote efficiency and serve the interests of justice by avoiding the scandal and inequity of

inconsistent verdicts.’” United States v. Hall, 473 F.3d 1295, 1301-02 (10th Cir. 2007) (quoting

Zafiro v. United States, 506 U.S. 534, 539 (1993)). If defendants have been properly joined in the


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       The government states that it will request a continuance of Patterson’s trial to a date after
       Shobe’s competency evaluation is completed to avoid separate trials for Patterson and
       Shobe. Dkt. # 59, at 5-6. The parties should be prepared to address this issue at the pretrial
       conference on October 11, 2011, but the Court is not inclined to continue the trial of this
       matter for an indefinite period time while awaiting the results of Shobe’s competency
       evaluation. The government should be prepared to proceed to trial against Patterson on
       October 17, 2011.

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same indictment, “a district court should grant a severance under Rule 14 only if there is a serious

risk that a joint trial would compromise a specific trial right of one of the defendants, or prevent the

jury from making a reliable judgment about guilt or innocence.” Zafiro, 506 U.S. at 539. “[W]hen

two or more people commit a criminal act and are later jointly indicted, they can usually expect to

be tried together.” United States v. Dirden, 38 F.3d 1131, 1141 (10th Cir. 1994) (quoting United

States v. Dill, 693 F.2d 1012, 1014 (10th Cir. 1982)). A court’s decision to order severance is

discretionary, and a defendant bears a “heavy burden of showing real prejudice to his case.” United

States v. McConnell, 749 F.2d 1441, 1444 (10th Cir. 1984).

       Patterson argues that his trial should be severed from the trials of his co-defendants, because

they have made statements incriminating Patterson and he will likely be unable to cross-examine

his co-defendants at trial. Dkt. # 51, at 4. In United States v. Bruton, 391 U.S. 123 (1968), the

Supreme Court held that a defendant’s right to confront the witnesses against him is violated by the

admission of an out-of-court statement by a co-defendant if the statement implicates the defendant

and the co-defendant does not testify at trial. The Tenth Circuit has rejected a broad interpretation

of Bruton and has declined to extend Bruton to require the exclusion of statements that “are not

directly inculpatory but only inferentially incriminating.” United States v. Rahseparian, 231 F.3d

1267, 1277 (10th Cir. 2000). A Bruton problem may be cured by redaction of an out-of-court

statement implicating the defendant if it is possible to remove references to the defendant from the

statement without making it obvious that any statements reference the defendant. United States v.

Sarracino, 340 F.3d 1148, 1159 n.3 (10th Cir. 2003). It is not sufficient merely to remove a

defendant’s name from the out-of-court statement and there must be no “reference to his or her




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existence” and, in addition, the Court must give a proper limiting instruction. Richardson v. Marsh,

481 U.S. 200, 211 (1987).

        Patterson has not shown that Bruton requires the Court to sever his trial from that of his co-

defendants or even that a Bruton issue will arise at trial, and his motion (Dkt. # 51) should be denied.

Patterson’s motion is based on an assumption that his co-defendants will not be available for cross-

examination at trial, but Beeson has agreed to testify for the government and Patterson will be able

to cross-examine him at trial. Dkt. # 59, at 2. A Bruton issue arises only when a co-defendant

makes an out-of-court statement incriminating the defendant and the co-defendant does not testify

at the defendant’s trial. Patterson will have an opportunity to cross-examine Beeson, and Patterson’s

rights under the Confrontation Clause will not be violated if the government elects to use Beeson’s

oral or written confession at trial. The government argues that Beeson, Patterson, and Shobe are

charged with conspiracy to commit an offense against the United States, and it would be preferable

to resolve the charges against Patterson and Shobe in a single trial. The Tenth Circuit has

recognized a “presumption in a conspiracy trial that coconspirators charged together preferably

should be tried together.” United States v. Pursley, 577 F.3d 1204, 1215 (10th Cir. 2009). The

government is clearly aware of potential Bruton issues concerning the use of Shobe’s statements at

trial. If Shobe does not testify on behalf of the government at trial, the government states that it will

“inquire of witnesses only about Shobe’s statements that incriminate Shobe, and no other

defendant.” Dkt. # 59, at 7. Defendant’s request for severance may also be moot because Beeson

will change his plea and Shobe’s competency evaluation is not likely to be completed before the

scheduled trial date. Thus, even though Patterson has not shown that severance is required under

Bruton, he may actually be the only defendant on trial if the trial remains set as currently scheduled.


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       Patterson may re-urge his request to suppress or exclude Shobe’s statements if the

government elects to use Shobe’s out-of-court statements at trial and the government is unable to

redact references to Patterson from the statements. The government has stated that it will use

Shobe’s statements only against Shobe and, if Shobe is not tried with Patterson, it is reasonable to

infer that the government will not introduce Shobe’s statements at trial. However, the government

has the option to use Shobe’s statements at trial if they can be sufficiently redacted, and it would be

premature to exclude Shobe’s statements in their entirety. Patterson’s request to exclude evidence

is denied without prejudice to re-urging if a Bruton issue arises during trial.

       IT IS THEREFORE ORDERED that defendant Chantz Germaine Patterson’s Motion to

Sever and/or Alternative Motion to Suppress Extrajudicial Statements by Codefendants (Dkt. # 51)

is denied.

       DATED this 11th day of October, 2011.




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